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                        8                                     UNITED STATES DISTRICT COURT

                        9                      NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

                       10

                       11 Light Field Lab,                                          Case No.

                       12                      Plaintiff,                           COMPLAINT FOR DECLARATORY
                                                                                    RELIEF; DEMAND FOR JURY TRIAL
                       13            v.                                             [28 U.S.C. §§ 1332(a)(1), 2201(a)]

                       14 Alan Jones,

                       15                      Defendant.

                       16

                       17            Plaintiff Light Field Lab Corporation, a Delaware corporation (“Light Field Lab”), by and

                       18 through its attorneys, for its Declaratory Judgment Complaint against Defendant, Alan Jones,

                       19 alleges as follows:

                       20                                                 THE PARTIES

                       21            1.        Light Field Lab is, and at all times herein mentioned was, a Delaware corporation

                       22 authorized to and conducting business in the State of California with its principal place of business

                       23 located at 1920 Zanker Road Suite 10, San Jose, CA 95112. (“Light Field Lab” or “Company”).

                       24            2.        Light Field Lab is informed and believes that Defendant Alan Jones (“Jones”) is

                       25 currently a citizen and resident of the State of Washington. During the time period relevant to this

                       26 dispute, Jones was employed by Light Field Lab and worked in its offices in San Jose California.
                       27                                        JURISDICTION AND VENUE

                       28            3.        This action seeks a judicial declaration to settle the parties’ contractual dispute.
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   S ORENS EN , LLP
  ATTO RNEY S AT LAW                                                                                     DEMAND FOR JURY TRIAL
      OAKLA ND                                                                                       [28 U.S.C. §§ 1332(a)(1), 2201(a)]
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                        1 Subject matter jurisdiction is proper pursuant to 28 U.S.C. §§ 1332(a)(1), 2201(a).

                        2          4.     Light Field Lab and Jones have an actual and ongoing dispute concerning Jones’s

                        3 entitlement to ownership interests in           shares of the company’s common stock. Jones

                        4 threatens to sue to obtain the equity interest in these shares. Light Field Lab contends that Jones

                        5 has no rights under the express terms of the Plan Documents. Light Field Lab owns the disputed

                        6 shares. Moreover, Light Field Lab cannot meet Jones’s demands without violating the Plan’s

                        7 rules. Jones’s demand for equity interests outside the Plan terms impacts the Company’s ability to

                        8 issue new options already committed to Company’s employees from a finite employee options

                        9 pool under the Plan. Jones’s demands have a real, present and ongoing impact on Light Field

                       10 Lab’s business operations. Light Field Labs faces an impossible choice: either give Jones what he

                       11 demands and risk reneging on the commitments made to other current and prospective Plan

                       12 participants, or comply with the Plan and face litigation costs and risk from Jones’s continued

                       13 threats to sue. Light Field Lab needs a judicial interpretation of the Plan Documents to avoid

                       14 competing risk to its business.

                       15          5.     This Court has subject matter jurisdiction over this matter by virtue of diversity of

                       16 citizenship pursuant to 28 U.S.C. § 1332(a)(1). Jones claims a right to stock equity interests

                       17 exceeding $75,000. The amount in controversy therefore exceeds $75,000 exclusive of interest,

                       18 costs, and attorneys’ fees.

                       19          6.     Jones is subject to personal jurisdiction in California. This action arises out of

                       20 Jones’s employment for Light Field Lab in California. Jones purposefully availed himself of the

                       21 benefits of employment in California. Exercise of jurisdiction by a California court to determine

                       22 rights from a stock incentive plan administered by his former employer in California comports

                       23 with fair play and substantial justice. Jones consented to judicial proceeding in California when

                       24 he signed Light Field Lab’s 2017 Stock Incentive Plan (“Plan”); the contract at issue in this

                       25 declaratory judgment action.

                       26          7.      Venue is proper in this judicial district. The parties’ Stock Option Agreement
                       27 includes a choice of venue provision wherein they agreed that any stock-related litigation “shall”

                       28 be conducted in state or federal court in California. Exhibit A (Option Agreement ¶13). This
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  ATTO RNEY S AT LAW                                                                                DEMAND FOR JURY TRIAL
      OAKLA ND                                                                                  [28 U.S.C. §§ 1332(a)(1), 2201(a)]
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                        1 dispute concerns stock options granted as part of Jones’s services to be performed and received in

                        2 this judicial district.

                        3                                     FACTUAL BACKGROUND

                        4          8.      Between 2019 and 2023, Jones was employed by Light Field Lab as a software

                        5 engineer. Jones was an at will employee, with no written guarantee of continued employment.

                        6          9.      While an employee, Jones accepted stock option grants under Light Field Lab’s

                        7 2017 Stock Incentive Plan (“Plan”). See Exhibit A. The purpose of the Plan is to attract and

                        8 retain the best available personnel for positions of substantial responsibility, to provide an

                        9 additional incentive to employees, and to promote the success of the Company’s business. Exhibit

                       10 A at 6. The terms and conditions governing the issuance of the Company’s stock options are

                       11 found in three agreements: the Plan, the Stock Option Agreement and the Exercise Agreement

                       12 (“Plan Documents.”). See Exhibit A.

                       13          10.     Stock option grants are not employee wages. The Plan Documents stipulate that

                       14 stock options “are extraordinary items that do not constitute regular compensation for services

                       15 rendered to the Company . . . and are outside the scope of the Optionee’s employment contract, if

                       16 any. The Option and the Shares subject to the Option are not intended to replace . . .

                       17 compensation and are not part of the normal or expected salary or compensation for any purpose,

                       18 including but not limited to calculating severance payments, if any, upon termination.” Exhibit A

                       19 at 35 (Stock Option Agreement ¶11, No Acquired Rights) and at 39 (Excursive Agreement at ¶6,

                       20 No Employment Rights).

                       21          11.     On January 2, 2020, Jones confirmed, with his signature, that he agreed that any

                       22 options granted by Light Field Lab were “subject to the terms and conditions as set forth in the

                       23 Plan, Option Agreement and the Exercise Agreement documents.” Exhibit A at 2, 4-5.

                       24          12.     The Plan and Stock Option Agreement are integrated contracts. The Plan states “the

                       25 details of this Equity Award and the Documents set forth the entire understanding between you

                       26 and the Company regarding this Equity Award and supersede all prior agreements, promises
                       27 and/or representations on that subject.” Exhibit A at 1. Likewise, the Stock Option Agreement,

                       28 which expressly incorporates the Plan, is fully integrated. Exhibit A at 29, 35 (¶13(b) (Stock
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   S ORENS EN , LLP
  ATTO RNEY S AT LAW                                                                                DEMAND FOR JURY TRIAL
      OAKLA ND                                                                                  [28 U.S.C. §§ 1332(a)(1), 2201(a)]
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                        1 Option Agreement).

                        2          13.    Light Field Lab stock option grants are not stocks; they are contracts that allow the

                        3 option grant recipient to exercise options to purchase the common stock shares of Light Field Lab

                        4 at a strike price. Like most option contracts, Light Field Lab stock option grants allow the

                        5 exercising of the options only during specific time periods.

                        6          14.    The purpose of the Plan is to incentivize employees to stay at the company. The

                        7 Plan Documents therefore require vesting of the option grants over time, and also treat vested and

                        8 unvested options differently. In exchange for remaining employed with the company, an

                        9 employee would, periodically, earn vesting of the granted options and the ability to exercise the

                       10 vested options. During the course of Jones’s employment with Light Field Lab, he earned the

                       11 vesting of          options. At the time of his termination, he had unvested options for

                       12 shares. Jones never earned the right to exercise unvested options because he did not remain

                       13 employed with the company for the required period of time.

                       14          15.    The Plan Documents do not allow for any accelerated vesting of options. All

                       15 employees must remain with the company for the required length of time for their shares to vest.

                       16 Unvested options may be treated as vested options only in limited circumstances involving a

                       17 defined corporate transaction, such as a merger or acquisition. Exhibit A Plan at ¶¶ 2(h),

                       18 7(c)(i)(1), 11. No such corporate transaction has taken place.

                       19          16.    The Plan sets forth six post-termination exercise periods that vary depending on the

                       20 reason for termination. Exhibit A at 2. If Jones was involuntary terminated, the Plan provided,

                       21 consistent with IRS rules, an Option term of three months during which time he must exercise his

                       22 options. Exhibit A at 2; at 17 (Termination other than Upon Disability or Death or for Cause

                       23 providing three months after termination to exercise options). The Plan expressly provides that

                       24 “[i]n no event may any Option be exercised after the expiration of the Option term as set forth in

                       25 the Option Agreement (and subject to this Section 7).” Exhibit A at 12 (Plan General Provisions)

                       26 at 32 (Stock Option Agreement ¶5).
                       27          17.    The Plan set forth the procedure for exercising options, which required a written

                       28 notice and full payment of the exercise price. Exhibit A at 16 (Procedures for and Results of
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  ATTO RNEY S AT LAW                                                                               DEMAND FOR JURY TRIAL
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                        1 Exercise) at 32 (Stock Option Agreement ¶3(iv)); at 37 (Exercise Agreement at ¶2).

                        2          18.     The Plan clearly reserved the Company’s right to terminate an employee without

                        3 cause. Exhibit A at 7 (“[Termination for cause] does not in any way limit the Company’s ability

                        4 to terminate a Participant’s employment or consulting relationship at any time . . .” Id. at 9(c) (No

                        5 Employment Rights: “Neither the Plan nor any Award shall confer upon any Employee or

                        6 Consultant any right with respect to continuation of an employment [] relationship with the

                        7 Company . . . nor shall it interfere in any way with . . . the Company’s [] right to terminate his or

                        8 her employment [] relationship at any time, without or without cause.”).

                        9          19.     Jones also agreed to accept as binding, conclusive and final all decisions and

                       10 interpretations of the Administrator relating to his options. Exhibit A at 34 (Stock Option

                       11 Agreement ¶8).

                       12          20.     Jones exercised his vested options on three occasions. With each exercise, Jones

                       13 signed that he agreed that the Plan Documents governed the parties’ rights and obligations with

                       14 respect to the stock options. Exhibit A at 4-5. Before the expiration of his vested options, Jones

                       15 exercised the options for          shares of the company’s common stock. Jones owns those

                       16 shares, and they are not in dispute.

                       17          21.     On June 23, 2023, Light Field Lab terminated Jones’s employment. At the time of

                       18 termination, Jones had            vested options and           options that remained unvested.

                       19          22.     Jones’s separation from Light Filed Lab set the time period in which he was

                       20 required to exercise his vested stock options to September 24, 2023, pursuant to Paragraph

                       21 7(c)(ii)(1)-(2) of the Plan. Unlike his unvested options, Jones earned the right to exercise his

                       22 vested options before expiration. Jones however, never attempted to exercise his vested options.

                       23 Consequently, Jones’s right to exercise those vested options terminated and he has no further

                       24 rights to the stock equity of Light Field Lab. Jones, however, asserts an entitlement to company

                       25 stock equity interest more than three months after his employment terminated, and in violation of

                       26 the Plan Documents.
                       27          23.     Jones asserts an entitlement to exercise both his vested and unvested stock options

                       28 after the three-month exercise period set forth in the Plan Documents. Jones’s assertion that he is
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                        1 entitled to stock equity interest from unvested options is at odds with the Plan. Allowing Jones to

                        2 obtain stock equity interest from his unvested options exposes Light Field Lab to claims it

                        3 breached of contractual obligations owed to other current and prospective participants.

                        4          24.    The option grants accepted by Jones and all rights to exercise the same are clearly

                        5 set forth and defined in the Plan. Jones accepted the Plan. Jones cannot now claim rights not

                        6 provided by the Plan. Jones’s insistence that he alone is exempt from the Plan exposes Light Field

                        7 Lab to real business risks. Light Field Lab requires a judicial declaration of its rights and

                        8 obligations to Jones in order to resolve this ongoing controversy that impacts not only Light Field

                        9 Lab and Jones, but also the Plan and its present and future participants.

                       10                                    FIRST CLAIM FOR RELIEF

                       11                                          (Declaratory Relief)

                       12          25.    Light Field Lab repeats, reiterates and realleges each and every allegation of the

                       13 preceding paragraphs as if set forth herein, verbatim and fully at length.

                       14          26.    An actual controversy has arisen and now exists between Light Field Lab and Jones

                       15 concerning ownership rights to Light Field Lab’s stock equity interest.

                       16          27.    There is a substantial controversy between Light Field Lab and Jones of sufficient

                       17 immediacy and reality to warrant the issuance of a declaratory judgment.

                       18          28.    A judicial determination that Jones has no rights to Light Field Lab’s stock equity

                       19 interest will terminate the parties ongoing dispute and afford Light Field Lab relief from

                       20 uncertainty, insecurity, and the legal controversy giving rise to this proceeding.

                       21          29.    Light Field Lab did not breach the contracts that comprise the Plan Documents.

                       22 Jones breached the agreements. Jones is entitled to no further consideration.

                       23          30.    In the absence of a resolution of the parties’ present and ongoing dispute, Light

                       24 Field Lab will face legal uncertainty and the risk of financial harm. Light Field Lab faces

                       25 competing financial risks. Light Field Lab needs the security in knowing that it has no obligation

                       26 to Jones and will not continue to receive further demands and threats from him. As a startup
                       27 company that must secure investment capital, threatened litigation is also harmful to Light Field

                       28 Lab’s financial interests in securing additional investments, made more difficult when stock
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                        1 litigation is pending.

                        2                                            PRAYER FOR RELIEF

                        3            Declaratory Judgment Plaintiff, Light Field Lab, prays for judgment against Jones as

                        4 follows:

                        5            1.        That this Court declare that Jones never earned any right to Light Field Lab’s stock

                        6 equity interest through his alleged unvested option grants and that the alleged vested stock options

                        7 to Jones expired three months after his employment at Light Field Lab ended.

                        8            2.        That Jones failed to comply with the Plan Documents and did not exercise his

                        9 shares.

                       10            3.        That Jones’s demand for Light Field Lab’s stock equity interest is not permitted by

                       11 the Plan Documents.

                       12            4.        That this Court declare that Light Field Lab has no further or ongoing equity-

                       13 related obligation to Jones.

                       14            5.        For costs of suit herein to the extent permitted; and

                       15            6.        For such other and further relief as the Court deems just and proper.

                       16

                       17 Dated: October 19, 2023                               BURKE, WILLIAMS & SORENSEN, LLP

                       18

                       19
                                                                                By:
                       20                                                             Patricia L. Peden
                                                                                      Ghazaleh Modarresi
                       21                                                             Attorneys for Light Field Labs
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